
Affirmed by unpublished PER CURIAM opinion.
Unpublished opinions are not binding precedent in this circuit.
PER CURIAM:
Furqan Mohammad and Azra Yasmin appeal from the district court’s order affirming the bankruptcy court’s order granting relief from the automatic stay. We have reviewed the record and find no reversible error. Accordingly, we affirm for the reasons stated by the district court. See Mohammad v. Select Portfolio Servicing, Inc., No. l:14-cv-01305-AJT-TRJ (E.D.Va. Jan. 23, 2015). We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before this court and argument would not aid the decisional process.

AFFIRMED.

